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          APPALACHIAN VOICES, ET AL v. EPA, ET AL
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                          EXHIBIT 5

                         2°C Mississippi

                           Declaration
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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
               DECLARATION OF DOMINIKA PARRY, 2°C MISSISSIPPI

I, Dominika Parry, declare as follows:

         1.    My name is Dominika Parry, and I live in Ridgeland, Mississippi. This

declaration is based on my personal knowledge and professional education and experience. I am

over the age of eighteen and suffer from no legal incapacity. I submit this declaration in support

of 2°C Mississippi (2CM), which is one of several grant recipients affected by the federal grant

pause.

         2.    I want to be a named plaintiff in this case. I understand that, as a class

representative, it would be my responsibility to represent the interests of all the class members in

this lawsuit, and not just my own personal interests. I also understand the need to stay informed

about what is happening in the case. I understand that I agree to represent other nonprofit groups

with terminated Environmental Justice Collaborative Problem-Solving Cooperative Agreements

and Environmental and Climate Justice Community Change Grants.

         3.    I am the founding President of 2CM. Before founding 2CM, I spent most of my

career in academia as an Assistant Professor in the Earth and Environment Department at Boston

University, Visiting Assistant Professor at the Martin School of Public Policy and

Administration at the University of Kentucky, and a researcher at the Department of Forestry and

Wildlife Ecology at the University of Wisconsin-Madison.

         4.    I received my PhD in 2003 from Yale University’s School of Forestry and

Environmental Studies, where I also trained as a Postdoctoral Associate, working on valuation of

air pollution damages.
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          5.   2CM is a 501(c)(3) community-based organization founded in 207, that works

with communities in Jackson, Mississippi to create climate resilience through adaption,

mitigation and education projects. Our focus is disadvantaged, largely African American

communities that suffer most from the severe and negative impacts of climate change on their

health and wellbeing. 2CM’s current projects include co-designing with communities, green

infrastructure solutions to mitigate urban heat islands and flooding in the city’s most neglected

communities. We have developed strategic partnerships and collaborate with local community-

based organizations to increase our capacity to obtain funds for and develop projects that have

positive impact on the communities we serve.

          6.   2CM is a small organization, with only one full-time (CEO) staff, two hourly

(Projects Director and Accountant) staff, and one part-time (Community Coordinator) staff

person.

          7.   2CM is the recipient of multiple governmental funding agreements, which

together constitute the vast majority of our budget. Two of our governmental funding agreements

were awarded by the U.S. Environmental Protection Agency (EPA).

          8.   2CM was awarded a $500,000 Environmental Justice Collaborative Problem-

Solving Cooperative Agreement on August 1, 2024 under Clean Air Section 138. Under the

terms of our grant Agreement, 2CM agreed to complete the project over a 3-year period ending

in September 2027.

          9.   2CM was awarded $19,889,515 through the Environmental and Climate Justice

Community Change Grant Program under Clean Air Act Section 138. Under the terms of our

grant Agreement, 2CM agreed to complete the project over a 3-year period ending in February

2028.
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       10.     The pursuit of these grants required us to pass up other funding opportunities.

While we were in the process of applying for these grant opportunities and negotiating the terms

of our award agreement, there were numerous partner organizations reaching out and asking us

to partner with them on several grant proposals. We chose to decline these invitations to focus on

the Environmental Justice Collaborative Problem-Solving Cooperative Agreement Program and

Environmental and Climate Justice Community Change Grant Program.

                        Environmental Justice Collaborative Problem-Solving
                                Cooperative Agreement Program

       11.     2CM was awarded an Environmental Justice Collaborative Problem-Solving

Cooperative Agreement to replace several abandoned properties, considered blight, in West

Jackson, Mississippi with a system of flood controlling microparks. This grant would fund the

development of microparks in partnership with community members using our previously

developed architectural co-design process. The microparks would offer natural solutions to urban

flooding through rain gardens and equitable access to green infrastructure, recreational

opportunities and will build and strengthen community cohesion, improve residents’ quality of

life, mental and physical health and increase access to climate education through local art.

       12.     Jackson, Mississippi is vulnerable to flooding and became the topic of national

news after heavy rains in 2022 led to flooding from the Pearl River, which in turn overwhelmed

the O.B. Curtis Water Plant, leaving the city without running water for over 30 days. This

nationally recognized crisis accelerated discussion about supporting historically disinvested

cities where frontline communities have been left with chronically underfunded, failing

infrastructure and with no resources to address the unequally distributed growing risks from

climate change. At the same time, neighborhoods in West Jackson experience high levels of
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poverty and a history of disinvestment. In two of the four census tracts in the project area, 68%

of residents live below the poverty line, and over 95% are African Americans. In the project

area, the prevalence of asthma ranges from the 95th to 100th percentile compared to the US as a

whole; heart diseases range from the 90th to the 100th percentile; and overall low life expectancy

is in the 95th to the 100th percentile range. Our project aims to play a part in alleviating these

burdens by co-developing with the community system of several microparks on vacant properties

to create local flood resilience, as well as to provide recreational, educational, and community-

building functions.

       13.     Access to our awarded funding was disrupted starting on January 29, 2025 when

we learned that our account had been listed as “suspended.” Our account was later reactivated

and then suspended again.

       14.     On March 28, 2025, we received a letter from the EPA stating that it was

terminating our Environmental Justice Collaborative Problem-Solving Cooperative Agreement.

       15.     We sent a letter of disagreement with the termination decision to EPA officials on

March 28, 2025.

       16.     On May 30, 2025, our EPA award official sent a memorandum to the EPA

Regional Administrator Dispute Decision Official for Region 4 requesting that the termination

decision be upheld.

       17.     We had already selected sites for the microparks before the grant was terminated.

We hired contractors to do demolition work to develop the parks and agreed to pay them over

$20,000 for this work. This work had begun when we received the termination letter. These

properties were cleared and ready for reshaping the land to allow for redirecting water. Upon the
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termination of our Environmental Justice Collaborative Problem-Solving Cooperative

Agreement, we had to pay these contractors to do this demolition work with funding from a

foundation grant, which was not the initial plan. Now that this project has been disrupted by the

termination, these sites sit unattended with grass growing up to 4 feet tall.

       18.     We selected these properties based on the assumption that we would have access

to all of the funding. Given the status of our terminated grant, we will have to do a redesign of

the microparks with only half of the originally obligated funding. I am not certain if what we

can accomplish with only half of the funding will have an impact on flood control.

       19.      The termination of this grant is a disappointment to the community that has been

left behind by the federal government for decades. The communities that are the focus of this

project are in some of the poorest census tracts in the entire country. 75% of properties in these

communities are dilapidated. When we got our grant award, members started believing they

could make meaningful changes and formed a neighborhood association to work on this project.

The neighborhood association had already set up a schedule for regular maintenance at the

microparks. Community members had big plans for how to utilize these parks and what the

future could hold. Now that hope has been taken away.

                   Environmental and Climate Justice Community Change Grant

       20.     2CM was awarded an Environmental and Climate Justice Community Change

Grant to support the renovation and construction of a 35,000 square-foot space to host a

community resilience hub designed to provide overnight shelter for 150 people, an independent

drinking water supply, an independent energy system, and social support to community members

during weather-related emergencies, including power outages during periods of extreme heat and
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extreme cold. This award would also support 2CM in hosting emergency response, workforce

development, and other trainings at the hub, as well as executing emergency response activities,

in coordination with local emergency plans developed by Hinds County. The community

resilience hub was planned to be located in West Jackson, where residents experience high levels

of poverty, historic underinvestment, and deal with poor and unsafe infrastructure.

        21.    Applying for the Environmental and Climate Justice Community Change Grant

was a significant lift for my small team, which at the time consisted of just two full-time

employees—myself, serving as President and CEO, and my Project Director—along with the

part-time support of an accountant working only a few hours per week. We spent seven months

dedicating at least 10 hours a week to preparing our application. We built several new

partnerships and also worked with existing partners to collaboratively develop our program

proposal.

        22.    Although our award letter for this grant was issued January 16, 2024, it was

withheld and not sent to us until February 6, 2025.

        23.    Before our grant was terminated, we only had access to our Automated Standard

Application for Payments (ASAP) account for a 3-4 day period in the beginning of March 2025

and then reopened on April 28 2025 and stayed opened for 5 days until the termination on May 2

2025

        24.    On May 2, 2025, we received a letter from the EPA stating that it was terminating

our Environmental and Climate Justice Community Change Grant.

        25.    We sent a letter of disagreement with the termination decision to the EPA

Regional Administrator Dispute Decision Official for Region 4 on May 20, 2025.
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       26.     On June 18, 2025, we received a letter from the EPA acknowledging receipt of

this timely dispute.

       27.     Before our grant was terminated, we took some preliminary steps, including

submitting a compliance letter to EPA, holding inaugural meetings with partners, conducting

community outreach, recruiting an architect to design the hub, and purchasing an HVAC and

generator for the hub.

       28.     We only had access to our grant funding for a few days between March 1, 2025

(our project start day) and May 2, 2025 (when we received a termination letter from the EPA).

       29.     We had planned to triple our staff to implement our program, as agreed under our

approved budget for the grant. We are unable to do this hiring now that our grant has been

terminated.

       30.     The community resilience hub would make the difference between people having

shelter or not being exposed to extreme temperatures or not. People in the community do not

have a place to go when the power is out or when their homes are being flooded. The community

resilience hub would provide that place of safety and security.

       Overall impact

       31.     The termination of our Environmental and Climate Justice Community Change

Grant and Environmental Justice Collaborative Problem-Solving Cooperative Agreement has put

significant financial strain and hardship on 2CM. These two grants combined constituted 93% of

our organizational budget. The loss of this funding has impacted the organization’s ability to

continue to pay staff. I have had to substantially reduce my salary, and expect to continue

working fully pro-bono starting June 2025. I also had to reduce a full-time Project Director to a

part time Community Coordinator (keeping the Project Director on per hour compensation
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totaling up to $10,000). Another full-time staff (Project Director), whose salary was to be 50%

funded by our Environmental Justice Collaborative Problem-Solving Cooperative Agreement,

became a contract employ with per hour compensation totaling up to $10,000, while most of the

work was designated to a part time Community Coordinator with lower pay. We are also having

to think about terminating our office-space lease early due to the reduction in revenue. I am

worried the financial constraints caused by the grant terminations will force 2CM to enter into a

period of institutional hibernation.

       32.     Now that we have had to reduce the capacity of our already small team, it is very

challenging to manage all of 2CM’s administrative and programmatic workload. In have had to

take on a lot of accounting work that we were previously paying an accountant to do. We are no

longer able to pay our grant sub-recipients and are relying on volunteers to work on the projects.

Additionally, since the bulk of project work is now conducted by me, I have effectively no time

for fundraising to replace the lost funding. This basically eliminated our chances to move beyond

the funding we still have left and makes it very unlikely that we will be able to develop new

projects

       33.     If our Environmental Justice Collaborative Problem-Solving Cooperative

Agreement is reinstated, 2CM will be able to provide critical investments in the West Jackson

community by developing microparks to improve flood resilience and a community resilience

hub to provide essential and emergency services. We would put this funding to immediate use by

advancing the development of the microparks and establishing the first Resiliency Hub in

Jackson, MS. For the microparks, activities would include resuming data collection (interrupted

by the termination letter); hiring a contractor to grade and contour the project grounds;

developing a detailed planting map; conducting community meetings to approve the planting
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plans; hiring a landscaping company to implement the approved design; developing and

installing educational signage; conducting post-implementation data collection; analyzing and

reporting the project's impact; celebrating the grand opening of the microparks; and providing

support for park maintenance throughout the remainder of the project period.


       34.     For the Resiliency Hub, planned actions include hiring additional staff; engaging

an architectural firm to co-design the building renovations through a community-driven process;

installing a microgrid and independent water well; launching solar installation and green

infrastructure workforce development programs to be hosted at the Hub; and developing a

cooperative to support the Hub’s long-term financial sustainability. The project will culminate in

the grand opening of the Hub’s emergency and office wings.


Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the United
States, the foregoing is true and correct.
Executed this #_23_day of _June 2025.




   Executed this __23____ day of _June________ 2025.


                                                           _______________________
                                                           Dominika Parry
